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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS, DIVISION



  UNITED STATES OF AMERICA

  V.                                            CASE NO. 2:17-cr-00099

  WILLIAM PIERCE

                                  MOTION TO CONTINUE

           COMES NOW the Defendant, by and through his undersigned counsel, and

  would request this Honorable Court to continue the sentencing in the above-reference

  case, now set for December 4, 2017, and would state in support as follows:

           1. The Defendant is an important witness in a significant investigation (as yet

  unindicted) in which the Government has discussed the possibility of substantial

  assistance (as yet unknown) for information from the Defendant, and the probability of

  testimony.

           2. The Defendant would ask for a continuance of 120 days, to which the

  Government does not object. The Government has provided just enough information to

  suggest that would give enough time for a possible resolution of the investigation and

  indictment, and would allow a complete picture of the Defendant’s involvement and

  cooperation.

           WHEREFORE the Defendant requests a continuance of his sentencing for 120

  days, with both parties to this case agreeing and presenting that recommendation to the

  Court.
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                                                                     /s/ Douglas Molloy
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                             CERTIFICATE OF SERVICE

         I hereby certify that on November 2, 2017, I electronically filed the foregoing
  with the Clerk of the Court by using the CM/ECF system which will send a notice of
  electronic filing to Simon R. Eth, Assistant United States Attorney, Middle District of
  Florida.


                                                                 /s/ Douglas Molloy
                                                       DOUGLAS MOLLOY, ESQUIRE
